                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 In re
                                                     Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,l                                        Chapter 11
                                                     Hon. Lisa S. Gretchko
       Debtors.                                      Jointly Administered


                  COVER SHEET FOR TRANSMITTAL OF
                  SMALL BUSINESS OPERATING REPORT

                      GRACEWAY SOUTH HAVEN, LLC
                             (CASE NO. 21-44888-lsg)

              FOR THE PERIOD ENDING DECEMBER 31,2021




1 The debtors in these jointly administered proceedings along with the last four digits
of their respective federal tax id numbers are Silverside Senior Living, LLC (2357)
[Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case No. 21-
44888-lsg].


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 Fill in this information to identify the case:
 Debtor name               Graceway South Haven, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

 Case number: 21-44888
                                                                                                                       D Check if this is an
                                                                                                                          amended filing

 Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11                                                                         12/17

 Month:                     December 2021                                                Date report filed:            02/04/2022
                                                                                                                       MM/DD/YYYY
 Line of business:          Skilled Nursing Facility                                     NAISC code:                    623110

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

 Responsible party:                                 Anthony Fischer, Jr.

Original signature of responsible party            /s/s Anthony Fischer, Jr.

Printed name of responsible party                  Anthony Fischer, Jr.

           1. Questionnaire
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                             Yes No N/A
   If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

1. Did the business operate during the entire reporting period?                                                             D       i D
2. Do you plan to continue to operate the business next month?                                                              D       i a
3. Have you paid all of your bills on time?                                                                                 D
4. Did you pay your employees on time?                                                                                      a       D 'i
5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                          a
6. Have you timely filed your tax returns and paid all of your taxes?                                                       D       a B
7. Have you timely filed all other required government filings?                                                             D       D @
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                          D
9. Have you timely paid all of your insurance premiums?                                                                     D
 If you answer Yes to any of the questions in tines 10-18, attach an explanation and label it Exhibit B.

10.    Do you have any bank accounts open other than the DIP accounts?                                     D Ba
11.    Have you sold any assets other than inventory?                                                      D ia
12.    Have you sold or transferred any assets or provided services to anyone related to the DIP in any way? Q i D
13.    Did any insurance company cancel your policy? D i D
14. Did you have any unusual or significant unanticipated expenses? D                                                               @ a
15. Have you borrowed money from anyone or has anyone made any payments on your behalf? D                                           @ a
16. Has anyone made an investment in your business? D                                                                               § D
17. Have you paid any bills you owed before you filed bankruptcy? D                                                                 @ D
18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy? D                                   B a
             Summary of Cash Activity for All Accounts

19. Total opening balance of all accounts $ 68,056.72
      This amount must equal what you reported as the cash on hand at the end of the month in the previous
      month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

20. Total cash receipts

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  Debtor              Graceway South Haven, LLC                                           Case number 21-44888
  Name

           Attach a listing of all cash received for the month and label it Exhibit C. Include all cash received even if you
           have not deposited it at the bank, collections on receivables, credit card deposits, cash received from other
           parties, or loans, gifts, or payments made by other parties on your behalf. Do not attach bank statements in
           lieu of Exhibit C.

           Report the total from Exhibit C here.                                                $ 17,159.60

 21.       Total cash disbursements
           Attach a listing of all payments you made in the month and label it Exhibit D. List the date paid, payee,
           purpose, and amount. Include all cash payments, debit card transactions, checks issued even if they have not
           cleared the bank, outstandingchecks issued before the bankruptcy was filed that were allowed to clear this
           month, and payments made by other parties on your behalf. Do not attach bank statements in lieu of Exhibit
           D.

           Report the total from Exhibit D here.                                              -$. 0.00

 22.       Net case flow                                                                                                  +$ 17,159.60
           Subtract line 21 from line 20 and report the result here.
           This amount may be different from what you may have calculated as net profit.

 23.       Cash on hand at the end of the month

           Add line 22 + line 19. Report the result here.                                                                      :$ 85,216.32

           Report this figure as the cash on hand at the beginning of the month on your next operating report.

           This amount may not match your bank account balance because you may have outstanding checks that have
           not cleared the bank or deposits in transit.

I^BSBSS 3. Unpaid Bills

           Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
           have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the purpose
           of the debt, and when the debt is due. Report the total from Exhibit E here.

 24.      Total payables                                                                                                       $ 0.00
              (Exhibit E)

4. Money Owed to You

          Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
          have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
          Identify who owes you money, how much is owed, and when payment is due. Report the total from Exhibit F
          here.

25.       Total receivables                                                                                                    $ @250.000.DO
                (Exhibit F)

                5. Employees

 26. What was the number of employees when the case was filed?                                                                 $ 0


 27. What is the number of employees as of the date of this monthly report?                                                    $ 0

[B^^^B 6. Professional Fees

28. How much have you paid this month in professional fees related to this bankruptcy case?                                    $ 0.00


Official Form 425C Monthly Operating Report for Small Business Under Chapter 11                                                              page 2
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  Debtor              Graceway South Haven, LLC                                                Case number 21-44888
  Name

  29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ 0.00

  30. How much have you paid this month in other professional fees? $                                                          0.00

  31. How much have you paid in total other professional fees since filing the case? $                                         0.00

                 7. Projections

           Compare your actual cash receipts and disbursements to what you projected in the previous month. Projected
           figures in the first month should match those provided at the initial debtor interview, if any.



                                                 Column A                       Column B                Column C
                                                 Projected                      Actual                = Difference

                                                 Copy lines 35-37 from the      Copy lines 20-22 of     Subtract Column B
                                                 previous month's report.       this report.            from Column A.

 32. Cash receipts                              $                                                       $

 33. Cash disbursements                         $                               $                       $

 34. Net cash flow                               $                              $                       $



 35. Total projected cash receipts for the next month:                                                                      $ 0.00

 36. Total projected cash disbursements for the next month:                                                             - $ 0.00

 37. Total projected net cash flow for the next month:                                                                  = $ 0.00

                8. Additional Information

   If available, check the box to the left and attach copies of the following documents.

 @ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

 Q 39. Bank reconciliation reports for each account.

 Q 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

Q 41. Budget, projection, or forecast reports.
D 42. Project, job costing, or work-in-progress reports.




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                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 In re
                                                             Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,1                                                Chapter 11
                                                              Hon. Lisa S. Gretchko
         Debtors.                                            Jointly Administered




                                            EXHIBIT A

                  GRACEWAY SOUTH HAVEN, LLC
          SMALL BUSINESS MONTHLY OPERATING REPORT FOR
               THE PERIOD ENDING DECEMBER 31, 2021



All of the Debtor's residents were moved to alternative facilities on May 27, 2021.
The Debtor has not maintained any operations since that date.




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digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
No. 21-44888-lsg].


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                         EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

 In re
                                                               Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,'                                                  Chapter 11
                                                               Hon. Lisa S. Gretchko
         Debtors.                                              Jointly Administered



                                              EXHIBIT B


                     GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS MONTHLY OPERATING REPORT
               FOR THE PERIOD ERNDING DECEMBER 31,2021




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                         EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

In re
                                                              Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,l                                                  Chapter 11
                                                               Hon. Lisa S. Gretchko
         Debtors.                                              Jointly Administered



                                              EXHIBIT C

                            GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS MONTHLY OPERATING REPORT
                    CASH RECEIPTS FOR THE PERIOD
                      ENDING DECEMBER 31, 2021


RECEIPTS:

12/17/2021 Accounts receivable:                               $9,659.60
12/26/2021 Accounts receivable:                               $7,500.00
                                          Total:              $10,159.60




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                         EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

In re
                                                              Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC,etaL 1                                                    Chapter 11
                                                               Hon. Lisa S. Gretchko
         Debtors.                                             Jointly Administered




                                             EXHIBIT D

                     GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS IMONTHLY OPERATING REPORT
                   FOR THE ENDING DECEMBER 31, 2021




None.




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digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
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                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re
                                                             Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,1                                                Chapter 11
                                                              Hon. Lisa S. Gretchko
        Debtors.                                              Jointly Administered



                                            EXHIBIT E

                     GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS MONTHLY OPERATING REPORT
               FOR THE PERIOD ENDING DECEMBER 31,2021

                                     ACCOUNTS PAYABLE


None.




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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

In re
                                                               Case No. 21-44887
SILVERSIDE SENIOR LIVING,
                 1
LLC, et al.                                                    Chapter 11
                                                               Hon. Lisa S. Gretchko
         Debtors.                                              Jointly Administered



                                              EXHIBIT F

                     GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS MONTHLY OPERATING REPORT
                   FOR THE PERIOD DECEMBER 31, 2021




The Debtor is working to generate an updated and reliable accounts receivable
report.




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digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
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                        EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In re
                                                              Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,l                                                 Chapter 11
                                                              Hon. Lisa S. Gretchko
         Debtors.                                             Jointly Administered



                                             EXHIBIT G

              SMALL BUSINESS MONTHLY OPERATING REPORT
                    BANK RECORDS FOR THE PERIOD
                      ENDING DECEMBER 31, 2021



See Attached Bank Statements.




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digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
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                                                 150 Third Avenue South

                Pinnacle                         Suite 900
                                                 Nashville, TN 37201
                                                 VAVw.pnfp.com
                                                                                                      Client Service Center 800-264-3613
                                                                                                      Pinnacle Anytime S66-755-5428

                 RETURN SERVICE REQUESTED                                                             Account
                                                                                                      XXXXXXXX1306




                                              Graceway South Haven LLC
                                              Debtor in Possession
                                              13228 Chestnut St
                                              Southgate, Ml 48195-1257




                Statement of Account                                                                                         Horizon 150


                      Balance 12A'1/21                      Summary

                     $168,056.72
                                                       •
                                                        •jrredifs!:!.i'i!J?:::+$17,159.6ffa                                             ^
                     8alanceA2/31/211.                      interest:'..'.*$i0p. ;.
                     •$85,2l6a2[                            IDebits'         ?$j00                                                          ^
                Credit Transactions                                                             New Mobiie App Combines
                                                                                                Persona! and Business
                 Deposits
                 12/27 Regular Deposit                                              9,659.60    Pinnacle's new mobile banking combines our
                 12/29 Regular Deposit                                             7,500.00     personal and business apps into one that
                                                                                                looks (and works) more tike the full online
                Total Credits                                                     $17,153.60'   banking experience. You can:

                                                                                                  • Easily manage and edit transfers
                                              '$70,34U2-Ann uafpercentage Yield         .00%         Make principal and interest loan
                Average Balance This
                Statement                                Earned                                      payments
                                                                                                    See your passcode as you enter it
                Interest Earned This Period        $.00 DaysTn Period                     31        Add and edit transaction descriptions
                Interest Paid Year to Date         5.00 Interest Paid                 ""'yoo
                                                                                                You can learn mare and download the app at
                                                                                                PNFP.com/mobile

                .DAILY BALANCE INFORMATION
                12/01 68,056.72 12/27                    77,716.32 12/29 85,216.32




                   Member
               M FDJC                                                                                                                   Page 1 of 3

                                                                                                                                        GAB3605




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                                                          Pinnacle

                ELECTRONIC TRANSFER ERROR RESOLUTION

                This Electronic Transfer Error Resolution only applies to accounts held for personal, family or household purposes
                and is therefore not applicable to business, trust accounts, or any such account held for non-personal purposes,

                In case of errors or questions about your electronic transfers, call or write us at the telephone number or address
                listed at the end of this disclosure, as soon as you can, if you think your statement or receipt is wrong or if you
                need more information about a transfer listed on the statement or receipt.

                        Tell us your name and account number (if any).

                         Describe the error ortho transfer you are unsure about, and explain as clearly as you can why you believe
                         it is an error or why you need more information.

                    • Tell us the dollar amount of the suspected error.

                We must hear from you no later than 60 days after we send the FIRST statement on which the problem or error
                appeared.

                We will provide provisional credit for the amount that you think is in error within 10 business days of your
                compla'int and begin an investigation of the transaction(s). In most cases, we will disclose the results of the
                investigation within 10 business days of your complaint and correct any error promptly. If we need more time to
                investigate the complaint, we may take up to 45 days (90 days if the transfer involved a point-of-sale transaction or
                a foreign initiated transfer) to complete our investigation. However, you will have use of the funds in question
                during our investigation.

                                                                   Pinnacle Bank
                                                         150 3rd Avenue South, Suite 900
                                                                Nashville, TN 37201
                                                                 (800) 264-3613




                                                                                                                     Page 2 of 3




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               Account Number: XXXXXXXX1306                                                               Date                 12/31/21
                                                                                                          Primary Acct No.     XXXXXXXX1306

                                  ffnnaclr         o£?osir                                    FtliWlT
                                                   5s.=-                              s.                       s.=-
                                                              S t» £t -i-S-                                    .. „.! ^
                              .-l^".'.-?.*'        s,,       So &<^ .Ss-                   „ 1>-W-*.> _ j
                            HWt&^SS-^.^^.^^. l-l-(»™ .                                jjj -^sssa^feA^ —
                                                  l!SSf.                              i- «».,.— vsx
                         gooi m as 1 aoto .a.s oibs~ifco                              goo i o ~r zs .' s =• fc ^.»    '7SOO oo




                       #0                    12/27/2021               $9,659.60      ffO                12/29/2021           $7,500.00




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